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AO 442 (REV. 12/85)

 

UNITED STATES DISTRICT COURT 104201?
WESTERN DISTRICT OF TEXAS, EL PASO DIVISION Clerk, U.S. District Court
Western District of Texas
By: RRV
Deputy

USA §
§ CRIMINAL COMPLAINT

VS. § CASE NUMBER: EP:17-M -04461(1) - MAT
§

(1) JOSE FRANCIS YANES-MANCIA §

I, the undersigned complainant being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about 10/22/2017 in El Paso county, in the WESTERN DISTRICT OF
TEXAS defendant did, being an alien to the United States, knowingly enter and attempt to enter the United
States at a time and place other than as designated by immigration officers in violation of Title 8 United
States Code, Section(s) 1325(a)(1).

I further state that I am a(n) Berder Patrol Agent and that this complaint is based on the
following facts: "The Defendant, Jose Francis YANES-Mancia, an alien to the United States and a citizen of
Honduras, entered the United States from the Republic of Mexico on October 22, 2017 by crossing the Rio
Grande River approximately 1.46 miles west of the Paso Del Norte Port of Entry in El Paso, Texas, which is
located in the Western District of Texas. The area where the DEFENDANT crossed is not designated as a port
of entry by immigration officers."

Continued on the attached sheet and made a part of hereof: [xlYes [_]No

Sworn to before me and subscribed in my presence,

Signature of Complainant
Heredia, Frank A.
Border Patrol Agent

 

 

10/24/2017 at EL PASO, Texas
File Date City and State
i
MIGUEL A. TORRES ne

 

 

UNITED STATES MAGISTRATE JUDGE Signatuke of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT
WESTERN DISTRICT OF TEXAS

(1) JOSE FRANCIS YANES-MANCIA

FACTS (CONTINUED)

The Defendant, Jose Francis YANES-Mancia, an alien to the United States and a citizen of Honduras, entered
the United States from the Republic of Mexico on October 22, 2017 by crossing the Rio Grande River
approximately 1.46 miles west of the Paso Del Norte Port of Entry in El Paso, Texas, which is located in the
Western District of Texas. The area where the DEFENDANT crossed is not designated as a port of entry by
immigration officers.

On October 22, 2017 at about 9:50 p.m., Border Patrol Agent James Lowery saw fourteen individuals walk
north across the Rio Grande River, approximately 1.46 miles west of the Paso Del Norte Port of Entry in El
Paso, Texas. Agent Lowery approached the individuals; identified himself as a Border Patrol Agent, and
questioned the individuals as to their citizenship. One of the individuals later identified as DEFENDANT Jose
Francis YANES-Mancia admitted to being a citizen of Honduras. After a brief interview, it was also determined
that the DEFENDANT was also not in possession of any immigration documents that would allow him to enter,
- be, or remain in the United States legally. The DEFENDANT also freely admitted to have entered illegally into
the United States. All the individuals, along with the DEFENDANT, were placed under arrest and transported
to the Paso Del Norte Border Patrol Station processing center. At the station, the DEFENDANT was enrolled
into the E3/IDENT/NGI system utilizing his fingerprints and photo. The system revealed that the DEFENDANT
had no immigration or criminal history. Record checks query through El Paso Sector radio confirmed the
above results. The DEFENDANT was provided with his rights as per Form I-214 in the Spanish language
which he understood. Because this Affidavit is being submitted for the limited purpose of establishing
probable cause as set forth herein, I have not included each and every fact known to me concerning this
investigation.

IMMIGRATION HISTORY:
NONE

CRIMINAL HISTORY:
NONE

 
